Case 8:25-cv-00951-PX Document 228 Filed 07/10/25 Pageiof1

FILED ENTERED

IN THE UNITED STATES DISTRICT COURT LOGGED RECEIVED
FOR THE DISTRICT OF MARYLAND
JUL 10 2025

KILMAR ARMANDO ABREGO GARCIA,
ET AL CLEAK.U.S DISTRICT COURT dy

Plaintiffs * gy CECT OA ecuty

Vs. * Civil Case No.: PX 25-951
KRISTI NOEM, ET AL *

Defendants

ede dokok ak

Stipulation Regarding Return of Exhibits

The parties hereby STIPULATE that the below listed physical exhibits be returned to the

custody of and retained by counsel who offered them, pending appeal.

PLAINTIFFS’ EXHIBITS DEFENDANTS’ EXHIBITS
All Plaintiffs’ exhibits All Defendants’ exhibits
returned: returned:

Received the above listed exhibits this date:

UZ Cou for Defendants:
‘ff aN
re

cr

J Rossman or A Cooper Jonathan Guynn or Ernesto Molina

Date: July 10, 2025

U.S. District Court (Rev. 5/2000) - Stipulation Regarding Return of Exhibits
